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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:16-cv-02981-MSK-KMT
  TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
  others similarly situated,
                        Plaintiff
  v.

  EURTON ELECTRIC COMPANY, INC., a California corporation
                        Defendant

             DEFENDANT’S OPPOSITION TO MOTION FOR SUMMARY JUDGMENT




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                             MEMORANDUM OF POINTS AND AUTHORITIES
  I.             INTRODUCTION
                 Plaintiff seeks summary judgment for its TCPA class, but it fails to establish Article III
  standing for any class member. Regardless, Eurton has both oral and documentary evidence of
  prior express permission or invitation. Because Plaintiff lacks standing for an opt-out notice claim,
  Eurton’s established business relationship (“EBR”) presents triable issues for Plaintiff’s class.
  Plaintiff’s Motion for Summary Judgment should be denied in its entirety.
  II.            FACTS
                 Eurton supplies and repairs electric motors. (Declaration of John Buchanan, ¶ 4.) It is a
  small business with 30 employees. (Buchanan Decl. ¶ 4.) Eurton engaged a company called
  WestFax to mount an advertising campaign via fax to a list of recipients that Eurton supplied.
  (Buchanan Decl. ¶ 8.) This list included Plaintiff Tech Instrumentation Inc. (TII) and over 1,000
  other people/businesses. (Buchanan Decl. ¶ 9.) Eurton developed the list by locating potential
  customers online and cold calling them to ask whether they would be interested in receiving more
  information.          (Buchanan Decl. ¶¶ 12-16.) Eurton does not have records of who it faxed.
  (Buchanan Decl. ¶ 10-11.)            A subpoena to WestFax only produced invoices. (Declaration of
  Stephen A. Watkins, ¶ 2 & Ex. 15.)
                 A.     Eurton’s Three-Step Process
                 Eurton’s three step process for obtaining fax consent is described as follows:
                 First Step: Eurton’s practice was to first locate businesses online that might use motors in
  their operations. (Buchanan Decl. ¶ 13.)
                 Second Step: Cold-call those businesses and ask whether the business would be interested
  in receiving more information. (Buchanan Decl. ¶ 14.)
                 Third Step: The company policy was to then ask the businesses if they agreed to receive
  more information, including by fax. (Buchanan Decl. ¶ 15.)
                 The deposition testimony of Eurton established the broad parameters of Eurton’s three-
  step process, but more specifically, Eurton’s representative would first identify his or herself, and

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  state what Eurton does, namely that Eurton rewinds small electric motors and supplies motor
  repairing parts. (Buchanan Decl. ¶ 16) Then the representative would state “Can I speak with
  repair department or someone who handles with that?” or a variation thereof. (Buchanan Decl. ¶
  17)
                 Once Eurton reached that person, it would ask them “Do you have need for such a service?
  We can offer a unique, special rewinding service for people in your industry, and supply electric
  motor repair items for those who repair them in house.” (Buchanan Decl. ¶ 18) Eurton’s
  representative would then state, “I can send you a flyer periodically explaining our products and
  services.” (Buchanan Decl. ¶ 19) For example, the flyers alleged to be sent to Plaintiff are the
  types of flyers explaining its products and services contemplated by Eurton’s dialogue with
  potential customers. (Buchanan Decl. ¶ 20) At that point, if the target agreed, Eurton would state,
  “can I have your fax number.” (Buchanan Decl. ¶ 21)
                 Eurton asserts this three-step process by itself establishes consent to fax advertisements.
                 B.     Eurton’s Forms
                 Eurton has also produced various credit applications, customer update forms and data quote
  forms whereby individuals provided their fax number prior to being faxed product information.
  The three-step process and the credit applications were not an “either or” proposition. It is possible
  a cold call led to an individual being interested in a credit application in order to do business on an
  ongoing basis. (Buchanan Decl. ¶ 58) In other words, fax numbers were provided during the life
  span of the consumer relationship. Given that the persons provided class notice were from Eurton’s
  customer records, it is likely the majority of those individuals are Eurton customers. (Buchanan
  Decl. ¶ 45).
                 C.     Eurton’s Prior Permission Forms
                 In 2019, Eurton directly contacted its customers to verify their company information and
  their prior consent to receive faxes during the class period. (Buchanan Decl. ¶ 92) Many of these
  individuals specifically mentioned the “three step” process. (Buchanan Decl. ¶ 92)
                 These signed prior permission forms state:

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                 Eurton Electric has had permission to contact us via: phone calls, faxes, emails, and
                 mailings. Sending flyers, catalogs, postcard, etc. to keep us informed on the latest
                 rewinds, repair parts, products, sales and specials offered from time to time. Eurton
                 Electric has had this permission more than 5 years, and we are looking forward to
                 continue the possibility of working together with Eurton Electric for many years to
                 come.
  Ex. 14 to Buchanan Decl. at EE001291.
                 D.      Persons Given Notice
                 The Court directed that class notice be sent to the following persons or entities:
                 (i)     those listed on Eurton’s 2017 fax logs;
                 (ii)    those listed on any existing iteration of Eurton’s “fax list”; and
                 (iii)   those who do not meet either of the first two criteria, but who are noted as having
                         a fax number in either Eurton’s accounting database or on its potential
                         customer/actual customer spreadsheet.
  (ECF 72-4 )
                 On January 30, 2020, notice was sent to the individuals presumably associated with the
  1,498 numbers forth in EE001-33 (See Dkt. 86 at 3.) Notice was sent to the second class list on
  June 12, 2020. (Watkins Decl.¶ 25.) That Second List totaled, 2,378 fax numbers. Eurton has
  evidence of consent for at least 409 of the 1498 numbers in the First List and 505 of 2,378 numbers
  on the Second List. Plaintiff’s request for classwide summary judgment should be denied.
  III.           ARGUMENT
                 A.      Plaintiff’s Burden on Summary Judgment
                 A motion for summary judgment is to be granted if the movant shows that (1) there is no
  genuine dispute as to any material fact of the claims on which judgment is sought, and (2) the
  movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). When, as is the case here,
  the plaintiff moves for summary judgment, the plaintiff bears the initial burden of demonstrating
  “that there is an absence of evidence to support the [defendant's] case.” Bacchus Indus., Inc. v.
  Arvin Indus., Inc., 939 F.2d 887, 891 (10th Cir. 1991). Once this burden is satisfied, to avoid
  summary judgment, defendant must designate specific facts showing that there is a genuine issue
  for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). Ultimately, “summary
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  judgment will not lie if [there is a] dispute about a material fact [that] is ‘genuine,’ that is, if the
  evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id. at 248.
                 In reviewing a motion for summary judgment, the court must view the evidence in the light
  most favorable to the party opposing the motion, and resolve all doubts in favor of the existence
  of triable issues of fact. World of Sleep, Inc. v. La–Z–Boy Chair Co., 756 F.2d 1467, 1474 (10th
  Cir. 1985),
                 B.     Eurton Should Be Permitted to Present Its Documentary Evidence
                 Plaintiff’s Motion argues that Eurton “waived” its right to assert documentary evidence in
  support of its defenses. (Dkt 105 at 4-5.) Plaintiff is essentially arguing that Eurton’s supplemental
  disclosures with this evidence were untimely and should be excluded pursuant to Rule 37(c)(1).
  Rule 26(e)(1)(A) requires a party to supplement its initial disclosures “in a timely manner if the
  party learns that in some material respect the disclosure or response is incomplete or incorrect.”
  Fed. R. Civ. P. 26(e)(1)(A). Rule 37(c) instructs that if “a party fails to provide information or
  identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that information
  or witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure was
  substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). Eurton produced the documents
  relating to its defenses in supplemental disclosures on February 27, 2020, June 10, 2020, July 8,
  2020 and July 30, 2020. (See Declaration of Stephen A. Watkins, Ex. 18 ) However, the Court’s
  Order held that merits discovery was closed as of January 4, 2019. (Dkt 100 at 4)
                 There is no bright line rule that supplementation of disclosures is improper if made after
  the close of discovery. American Gen. Life Ins. Co. v. Vistana Condo. Owners Assoc., 2016 WL
  1611585, at *2 (D. Nev. Apr. 21, 2016). The Rule 37(c)(1) inquiry as to whether the belated
  disclosure was harmless “depends upon several factors that a district court should consider in
  exercising its discretion.” Eugene S. v. Horizon Blue Cross Blue Shield of N.J., 663 F.3d 1124,
  1129 (10th Cir. 2011). These factors include: “(1) the prejudice or surprise to the party against
  whom the testimony is offered; (2) the ability of the party to cure the prejudice; (3) the extent to
  which introducing such testimony would disrupt the trial; and (4) the moving party’s bad faith or

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  willfulness.” Woodworker’s Supply, Inc., v. Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th
  Cir. 1999).
                 In the context of considering whether a district court properly excluded evidence because
  a party failed to comply with rule 26(a) or (e), the Tenth Circuit has explained: “The parties to a
  litigation are not merely players in a game, trying to catch each other out. Rather, litigation should
  promote the finding of the truth, and, wherever possible, the resolution of cases on their merits.”
  Gillum v. United States, 309 Fed.Appx. 267, 270 (10th Cir. 2009).
                 In Gillum, the Tenth Circuit determined that a party's failure to produce a written expert
  report in compliance with rule 26(a)(2)(B) did not warrant the extreme sanction of excluding the
  expert's testimony. See 309 Fed.Appx. at 269–70. The district court had found that the inadequate
  expert report prejudiced the United States, but the Tenth Circuit held that the district court “abused
  its discretion in analyzing the ‘cure factor,’ ” because the district court “focused on the fact that
  the inadequate report permanently deprived the United States of the opportunity to confront [the
  expert] ... ‘flat-footed.’ ” 309 Fed.Appx. at 270.
                 The Tenth Circuit held that this analysis was faulty, because the plaintiff had arranged for
  the United States to depose the expert a second time before the end of the discovery period, and
  the plaintiff could cover the United States' costs for a second deposition. See 309 Fed.Appx. at
  270. While stating that “[b]y no means do we condone the provision of inadequate expert report
  and begrudging snippets of information, and we caution that parties who behave in this manner act
  to their peril,” the Tenth Circuit held that the total exclusion of the expert's testimony was
  unnecessary. 309 Fed.Appx. at 370.
                 There was no bad faith in producing these documents after the merits discovery cutoff.
  They were produced once Eurton was made aware of their utility after a change in counsel. (John
  Buchanan Decl. ¶ 48) The trial is not disrupted as there is no trial date set.
                 Although Plaintiff did not have these documents in order to take discovery, Plaintiff had
  these documents within sufficient time to request reopening discovery as to these documents, as
  they were served over a year ago. Regardless, the Court itself has analyzed these documents in

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  the context of Eurton’s motion for decertification. That same motion put Plaintiff on notice of the
  arguments Eurton would make with respect to these documents.                        Therefore, even if these
  documents surprised Plaintiff, the prejudice was cured and the Court should not exclude this
  evidence. See Gillum, supra. Moreover, as Plaintiff did not meet and confer as to its implicit
  Rule 37(c)(1) motion, that is grounds alone to deny it. See, e.g., Allen v. Wal-Mart Stores, Inc.,
  No. 19-CV-03594-KLM, 2021 WL 4133914, at *3 (D. Colo. Sept. 10, 2021).
                 C.      Plaintiff’s TCPA Claim
                 To prevail on a claim under the TCPA and its implementing regulations, plaintiff must show
  that defendant: “(1) used a telephone facsimile machine, computer or other device to send a
  facsimile; (2) the facsimile was unsolicited; and (3) the facsimile constituted an advertisement.”
  Hinman v. M and M Rental Center, 545 F. Supp. 2d 802, 805 (N.D.Ill.2008). See also 47 U.S.C.
  § 227(b)(1)(C); 47 C.F.R. § 64.1200(a)(4).
                 D.      Eurton’s Defenses
                 TCPA only prohibits faxed advertisements that are “unsolicited.” Physicians Healthsource,
  Inc. v. Cephalon, Inc., 954 F.3d 615, 618–19 (3d Cir. 2020) [hereinafter Cephalon]. An “unsolicited
  advertisement,” is that which is sent “to any person without that person’s prior express invitation or
  permission, in writing or otherwise.” Id. § 227(a)(5). Thus, fax advertisements sent with the recipient’s
  prior express invitation or permission (i.e., solicited faxes) are not violative of the TCPA. Id. Plaintiff
  asserts that it is Eurton’s burden to demonstrate this defense.
                 The TCPA also has a defense based on its “established business relationship” with its
  customers. The TCPA prohibits a party from sending unsolicited fax advertisements unless the sender
  and the recipient have an established business relationship (“EBR”), the voluntary communication of
  such number, within the context of such established business relationship, from the recipient of the
  unsolicited advertisement, and the advertisement contains an adequate opt-out notice. 47 U.S.C. §§
  227(b)(1)(C), (b)(2)(D)-(E). Federal regulations define “established business relationship” as:

                 a prior or existing relationship formed by a voluntary two-way communication between
                 a person or entity and a business or residential subscriber with or without an exchange
                 of consideration, on the basis of an inquiry, application, purchase or transaction by the
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                 business or residential subscriber regarding products or services offered by such person
                 or entity, which relationship has not been previously terminated by either party.
  47 C.F.R. § 64.1200(f)(6).
                 Therefore, if a sufficient opt-out notice is provided and the number was voluntarily provided,
  EBR is a complete defense to a TCPA unsolicited fax claim.
                 E.      Plaintiff fails to show who received a fax
                 Plaintiff’s motion asserts that “the only remaining issue to resolve is whether TII and the
  Class gave prior express permission or invitation to receive the fax advertisements” (Dkt 105 at
  2), but Plaintiff has not met its burden on summary judgment to demonstrate who was sent a fax.
  The Court already has held that Tech has not identified who actually received faxes:

                  The time is ripe for Tech to explain how it will corelate the information it has
                  obtained in order to identify the members of the class who actually received
                  unsolicited faxed advertisements. Tech will make that showing in a notice filed with
                  the Court, supported by such evidence as may be necessary to evaluate the accuracy
                  and efficiency of that method, within 30 days of this Order.
  (Dkt 102 at 21.)
                 When a TCPA plaintiff cannot show every class member received the offending
  communication, class-wide summary judgment should be denied. Hossfeld v. Lifewatch, Inc., No.
  1:13-CV-9305, 2021 WL 1422785, at *5 (N.D. Ill. Feb. 5, 2021). In Hossfeld, the plaintiff asserted
  the following TCPA class: “all individuals in the United States who received one or more phone
  calls directed to a telephone number assigned to a cellular service using an automated telephone
  dialing system or an artificial or prerecorded message made by, on behalf of, or for the benefit of
  Lifewatch, Inc. from October 16, 2013 through the present.” Id. at *1.
                 The plaintiff moved for summary judgment on the issue of that “third-party marketers used
  an artificial or prerecorded message in every call to Class members.” Id. The plaintiffs in Hossfeld
  presented evidence, including statements from multiple individuals, that prerecorded messages
  were used by at least some telemarketers working with a telemarketer. Id. at *5.
                 In opposition to the plaintiff’s claims, the defendant in Hossfeld presented declaratory
  evidence that telemarketers neither engaged in robocalling nor did anything illegal in connection
  with their marketing activities related to defendant. Id. The Court held that “Based on this counter
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  evidence, the Court cannot conclude as a matter of law that every call made by telemarketers
  working with Lifewatch included a prerecorded message.” Id. It therefore denied summary
  judgment on that issue. Id.
                 Eurton asserts it was unlikely the 2,378 persons in Eurton’s database that do not overlap
  with the Initial List that was given class notice were faxed. (Buchanan Decl. ¶ 42) The Initial List
  was primarily based on the Tool List for Mailer 5-2009, and the Tool List was generally Eurton’s
  running record of persons actually faxed. Buchanan Decl. ¶ 43) Just because Eurton possessed
  names, address, telephone numbers, fax numbers in the database did not mean they were faxed.
  (Buchanan Decl. ¶ 44)
                 For the same reason, not everyone in the database was mailed or called on the phone. It
  was simply a database. (Buchanan Decl. ¶ 44) The fact that the Initial List does not wholly overlap
  with the database bears this out. (Buchanan Decl. ¶ 44)
                 Plaintiff has not shown that Eurton used a telephone facsimile machine, computer or other
  device to send a facsimile to every class member. Therefore, per Hossfeld, summary judgment
  should be denied on this ground alone and this issue remains for trial, despite Plaintiff’s claim that
  only remaining issue in this case is Eurton’s consent defense.
                 C.     Eurton is entitled to trial on its defense of prior express invitation or
                        permission
                 Eurton’s evidence of consent argues against classwide summary judgment. Booth v.
  Appstack, Inc., No. C13-1533JLR, 2016 WL 3030256, at *13 (W.D. Wash. May 25, 2016), order
  clarified, No. C13-1533JLR, 2016 WL 3620798 (W.D. Wash. June 28, 2016). In that case, the
  plaintiffs sued the defendant for “robocalls” made without prior express consent under the TCPA.
  Id. at *1 The defendant obtained phone numbers and other phone number voluntarily provided
  by prior customers, which the defendant dialed as part of its “win-back campaign.” Id. at *2.
                  The plaintiffs in Booth argued that the defendants' evidence did not clearly indicate
  consent for any given phone call. The Court rejected this argument stating in pertinent part:

                 Viewing the evidence is the light most favorable to Defendants, the court concludes
                 that there is sufficient circumstantial evidence before the court to reasonably
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                  conclude that some members of the TCPA Class consented. Plaintiffs are correct
                  that Defendants' evidence does not clearly indicate consent for any given phone
                  call. However, Appstack's “win-back campaign” and other marketing efforts make
                  it likely that some portion of the TCPA Class consented. (See 11/14/14 Reiten Decl.
                  Exs. 7, 15 at 10.) Although the consenting portion of the TCPA Class appears to be
                  small, the record demonstrates that the issue is unsuited for summary judgment on
                  a classwide basis.
   Id.
                       The Court held that the TCPA Class was entitled to summary judgment on its prima facie
   claim against the defendant, but the defendant's affirmative defense of consent remained for trial.
   Id. at 13. Eurton’s evidence of prior express invitation or permission similarly precludes summary
   judgment.
                  1.        Plaintiff Does not Prevail on Summary Judgment Simply because Eurton
                            Received Oral Evidence of Consent
                  In our case, every class member was subject to the Eurton’s three-step oral process for
   obtaining consent by definition. Eurton’s three-step process establishes consent for every class
   member and therefore Plaintiff’s motion should be denied in its entirety. Plaintiff sole argument
   is that because Eurton’s process was oral, and there are no recordings of the three-step process,
   Plaintiff is entitled to summary judgment on the issue that the three-step process does not establish
   prior express permission or invitation. This argument fails for two reasons, as set forth below.
                  a.        Testimony Can Establish Oral Evidence of Consent
                  Contrary to Plaintiff’s assertion, an oral agreement can be established via testimony.
   Creaghe v. Iowa Home Mut. Cas. Co., 323 F.2d 981, 985 (10th Cir. 1963) (citing Kansas City
   Southern Ry. Co. v. Keffer, 96 Okl. 63, 220 P. 361). Moreover, TCPA consent can be established
   via oral testimony. See Physicians Healthsource, Inc. v. Cephalon, Inc., 340 F. Supp. 3d 445, 452
   (E.D. Pa. 2018), aff'd, 954 F.3d 615 (3d Cir. 2020) (granting summary judgment whereby
   defendant “rel[ied] on Dr. Martinez's deposition testimony regarding his contacts with
   representatives of Cephalon to establish that he gave prior permission to Cephalon to send him
   information by fax.”)
                  Eurton’s oral three-step process specifically sought to obtain consent to faxed

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   advertisements, prior to doing so. (Buchanan Decl. ¶¶ 16-21)
                  That Eurton’s oral process sought to obtain permission prior to faxing is reflected by its opt
   out language which mentions “permission” prior to the fax.




   (Buchanan Decl. ¶ 22 & Ex. A to Plaintiff’s Complaint )
                  The reason Eurton specifically asked leads whether they consented to receive these faxes
   was in part sometimes the person Eurton spoke to was not the person that ultimately received the
   initial fax. (Buchanan Decl. ¶ 24) Therefore, if there was confusion when the fax was received,
   Eurton could inform the recipient at the company who had authorized the fax. (Buchanan Decl. ¶
   24)
                  Eurton’s three-step process therefore establishes prior express consent, despite Plaintiff’s
   repeated citation to Physicians Healthsource, Inc. v. A-S Medication Sols., LLC, 950 F.3d 959,
   965–67 (7th Cir. 2020). In Physicians Healthsource, the Seventh Circuit reviewed three different
   methods of supposed consent. “The first category includes statements suggesting that the
   individual or entity generally gave permission to receive faxes from [the defendant]. [E]vidence
   of permission to generally send faxes does not establish prior express permission to fax ads.” Id.
   at 966. The second supposed method of consent set forth in Physicians Healthcare was “post hoc
   statements that an individual would have given consent,” which failed “because they do not show
   AMS had prior express permission to send the faxes in question.” Id. (emphasis in original.)
   Neither of these categories apply in our case.
                  The third method the defendant argued in Physicians Healthcare consisted of “statements
   that the affiants and their employers consented to receive ‘[defendant’s] product information’ at
   the beginning of their business relationship with [defendant]”. Id.
                  The Seventh Circuit made two critical points with respect to evidence of prior express
   permission or invitation:

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                  (a)    consent that referred to promotional materials or product information
   regarding products or services not yet purchased, was consent to faxed advertisements, whereas
   consent to receive product information about a product already purchased was not);
                  (b)    That one had consented to receive a fax advertisement in the past and would have
   consented to fax advertisements if asked again does not establish ongoing permission to send fax
   advertisements. Id. at 966.
                  With respect to this third method, by definition the “cold call” made by Eurton means that
   they were not yet customers and therefore asking if they agreed to faxes regarding product
   information satisfies Physicians Healthcare that consent was being provided for product
   information prior to a purchase, not consent to a receive product information about a product
   already purchased
                  Moreover, the request of the Eurton representative would have requested “Do we have
   permission to send faxes periodically” because Eurton is engaged, on a regular basis, in the repair
   business and the person called would frequently be in need of Eurton’s rewinding service and
   repair products. (Buchanan Decl. ¶ 19)
                  At a minimum, the testimony of Eurton presents a triable issue as to whether prior
   express permission or invitation was established with respect to the entire class. See Cephalon,
   Booth, supra. See also Physicians Healthsource, Inc. v. Masimo Corp., No.
   SACV1400001JVSADSX, 2020 WL 5260650, at *7 (C.D. Cal. July 13, 2020) (“Having
   considered the evidence, the Court finds that there is sufficient evidence for a reasonable jury to
   conclude that Masimo had an “express invitation or permission” to send advertisements via fax
   to Plaintiffs as established through SK&A's business practices.”)
                  2.     Documents support inference of oral consent
                  Eurton also has documents that support its assertion that it had oral consent to call class
   members. See, e.g., Ung v. Universal Acceptance Corp., 319 F.R.D. 537, 540 (D. Minn. 2017).
   In that case, the plaintiff sought to certify a class of “All persons in the United States to whose
   cellular telephone number [Universal] placed a non-emergency telephone call using the same

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   software and/or equipment it used to call Plaintiff between July 1, 2012, and February 9, 2015,
   where the person was identified as a landlord or other reference in UAC's system.” Id. at 538.
                  The Court held that “While Ung correctly notes that the declarants do not expressly state
   the references provided consent, here too it is reasonable to infer from the Declarations that some
   portion of the in-person references either orally expressed their consent to be contacted or
   voluntarily provided their cell phone numbers, which would suffice to show prior express
   consent.” Id. (citing In re Rules & Regulations Implementing Tel. Consumer Prot. Act of 1991, 7
   FCC Rcd. 8752, 8769 (Oct. 16, 1992) (“[A]ny [cellular] telephone subscriber who releases his or
   her telephone number has, in effect, given prior express consent to be called by the entity to which
   the number was released.... [P]ersons who knowingly release their phone numbers have in effect
   given their invitation or permission to be called at the number which they have given.”).
                  In the same manner, for at least 122 class members, Eurton obtained signed statements
   asserting that Eurton possessed permission to call for more than five years:




   (Buchanan Decl. ¶¶ 92-95 & Ex. 14 at 1291; Ex. 16 to Watkins Decl.)
                  Just as in Ung, these documents established an inference that oral consent was provided
   via Eurton’s three step process. Per Physicians Healthsource, supra, at 996, these statements refer
   sales, specials and products “offered”, meaning not yet purchased. These statements therefore
   refer to faxed advertisements. To the extent Plaintiff claims this does not establish ongoing
   permission (per Physicians Healthsource, supra at 996), these statements state “from time to time”.
   Finally, to the extent Plaintiff asserts this is “after the fact” consent, given that class members
   would have been subject to the three-step process and many remembered the process (Buchanan
   Decl. ¶ 92), it can be inferred that these documents refer to the three-step process that is prior

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   consent. World of Sleep, 756 F.2d at 1474 (inferences favor nonmoving party on summary
   judgment).
                  This is the very type of circumstantial evidence of consent that defeated classwide
   summary judgment in Booth. “Although the consenting portion of the TCPA Class appears to be
   small, the record demonstrates that the issue is unsuited for summary judgment on a classwide
   basis.” Booth, 2016 WL 3030256, at *13. Unlike the naked statements in Physicians Healthcare,
   these documents merely confirm the oral consent that was already obtained.
                  Moreover, Eurton’s other forms establish a consent defense. Plaintiff’s Motion omits the
   key sentence in Physicians Healthsource. The Seventh Circuit acknowledged the FCC’s example
   of prior express permission, but went on to state:

                  “It would be a different matter if the affidavits explicitly suggested that that consent
                  included promotional materials or product information regarding products or
                  services not yet purchased.”

   Id. (emphasis added). See also Cephalon, Inc., 954 F.3d at 619 (“The voluntary provision of a
   number—phone or fax—by a message-recipient to a message-sender, constitutes express consent
   such that a received message is solicited and thus not prohibited by the TCPA, if the message
   relates to the reason the number was provided.”); Gorss Motels Inc. v. A.V.M. Enterprises, Inc.,
   No. 3:17-CV-01078 (KAD), 2021 WL 1163022, at *7 (D. Conn. Mar. 26, 2021) (same)
                  The fax numbers provided in Eurton’s form relate to the reason the number was provided,
   as shown below.


    Type of                  Does form refer to faxed advertisements?                   Does form
    Form                     Physicians Healthsource, supra, at 996                     contemplate faxes?
    Credit                   Yes. “THIS INFORMATION PROVIDES US
                                                                                        Yes.
    Applications             WITH THE BEST WAY OF CONTACTING YOU
    (Ex. 4,5 to              FOR ALL NORMAL BUSINESS
    Buchanan                 COMMUNICATIONS INCLUDING NOVICES,
    Decl.)                   SALES ORDERS, CATALOGS,
                             PROMOTIONAL FLYERS…”
    Customer                 Yes (“Sales Promotions”, “Specials”, “Catalogs”)           Yes
    Update Form
    (Exh. 6,7 to
   {00161749;1}


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    Type of                 Does form refer to faxed advertisements?                 Does form
    Form                    Physicians Healthsource, supra, at 996                   contemplate faxes?
    Buchanan
    Decl.)
    Data Quote              The form is faxed to Eurton seeking a “quote”.           Many times the fax
    Form (Ex. 8             Either a faxed quote is not an advertisement and         number is the only
    to Buchanan             therefore those types of faxes do not trigger the        number provided by
    Decl.)                  TCPA or faxing a quote is an advertisement and           the person seeking
                            covered by the form.                                     the quote. Buchanan
                                                                                     Decl. ¶¶ 82-83.
                  Plaintiff makes two arguments that the credit application does not constitute prior express
   permission or invitation. First, that the forms are not signed, but this is not required by the FCC.
   Plaintiff treats this FCC language regarding a signature as the exclusive method of establishing
   prior express permission, but the FCC states it is merely providing an example. The Court in Gorss
   Motels Inc. v. A.V.M. Enterprises, Inc., No. 3:17-CV-01078 (KAD), 2021 WL 1163022, at *4 (D.
   Conn. Mar. 26, 2021) made this clear, noting Congress also negated the portion of the 2003 FCC
   Order stating that prior express invitation or permission had to be “obtained in writing, include the
   recipient's signature, contain a clear indication that he or she consents to receiving such faxed
   advertisements, and provide the fax number to which faxes are permitted to be sent.” Id. (citing
   S. Rep. No. 109-76, at 3 (2005) (citing the 2003 FCC Order).
                  Congress did so by modifying the definition of “unsolicited advertisement” and adding “in
   writing or otherwise” to the end of the definition of unsolicited advertisement. Id. (citing JFPA,
   Pub. L. 109-21, § 2, 119 Stat. 359, 362 (emphasis added). Moreover, the Court in Gorss stated in
   pertinent part:

                  This change was designed to statutorily prohibit the FCC from promulgating a rule
                  that would require prior express permission to be obtained only in writing. S. Rep.
                  No. 109-76, at 11–12 (2005). The definition has not been amended since, see 47
                  U.S.C. § 227(a)(5), and the FCC subsequently amended its own regulations to align
                  with the language adopted by Congress. 2006 FCC Order, 21 F.C.C. Rcd. at 3810–
                  11; 47 C.F.R. § 64.1200(f)(15).
   Id.
                  Plaintiff’s second argument is to parrot the Court’s Order denying certification (Dkt 105
   at 9), which noted Eurton’s forms refer to a list of items to possibly be faxed, only some of which
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   constituted indicated the faxing of an advertisement. Therefore, the Court contemplated that the
   consumer may have only intended to agree to certain items on the list, not necessarily the
   “catalogs and promotional flyers” described.

                  The Court does not necessarily share Eurton’s confidence that, for example, the
                  language in the Application For Credit form clearly discloses Eurton’s intention to
                  fax advertisements, nor reflects the recipient’s consent to receive advertisements
                  by fax. A reasonable reading of that form by a recipient might be that, by providing
                  a fax number, the recipient was simply consenting to receive “CREDIT
                  INFORMATION BY FAX” – namely, Eurton’s decision as to whether or not credit
                  would be extended. Or it may be that the recipient was willing to receive faxes
                  for “NORMAL BUSINESS PURPOSES, INCLUDING INVOICES [and]
                  SALES ORDERS,” but not necessarily advertising.

   (Dkt 102 at 16, n.9) (emphasis added).

                  The Court also held this “issue is not presently before the Court and thus, the Court
   expresses no opinion as to the matter.” Id. However, now this issue is now before the Court.
                  Eurton asserts simply because reference to faxing items such as “CATALOGS,
   PROMOTIONAL FLYERS” are referred to as part of a larger document does not mean prior
   express invitation or permission is not established. In Travel 100 Grp., Inc. v. Mediterranean
   Shipping Co. (USA) Inc., the Appellate Court of Illinois held that the plaintiff had granted express
   permission for the challenged faxes where the cover letter to the questionnaire the plaintiff's
   representative completed stated that providing its contact information would “assure[ ] that
   suppliers will direct relevant promotions and FAM [familiarization] trip information to our
   participants.” 383 Ill.App.3d 149, 321 Ill.Dec. 516, 889 N.E.2d 781, 785 (2008) (second alteration
   in original) (quoting questionnaire cover letter).
                  As Eurton’s forms establish consent to be faxed, there is substantial evidence of
   consent.The chart below sets forth the totals of Eurton’s evidence of consent relating to the initial
   Class List relating to 1,498 fax numbers.


                           Credit Applications found in EE1411-1501
                           "Credit app list…") (Buchanan Decl. ¶ 50 &
                           Ex. 4)                                            19
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                           Data Quote Sheet found in EE2365-3060 "fax
                           flyers…" (Buchanan Decl. ¶¶ 82-85 & Ex. 4)         32
                           Update Found in EE2023-2361 ("List
                           recipient") (Buchanan Decl. ¶¶ 59-63 &
                           Ex.7)                                              152
                           Update Found in EE03061-3946 "Customer
                           Masters…" (Buchanan Decl. ¶¶ 59-63 &
                           Ex.7)                                              290
                           Prior Permission forms EE01290-1410
                           ((Buchanan Decl. ¶¶ 92-95 & Ex.15)                 112
                           Excluding duplicates                               4091
                  Pursuant the foregoing, at there is evidence of consent for at least 409 of the 1,498
   numbers on the Initial List. With respect to the Supplemental List, Eurton has evidence for at
   least 505 (See Ex. 19 to Watkins Decl., Ex. 2 to Buchanan Decl.) of those 2,738 given class notice.
                  Given that inferences are to be made in favor of Eurton in opposing summary judgement,
   at a minimum, these documents present a triable issue of whether these documents establish
   consent to call the class.
                  Plaintiff cannot meet its burden to show faxes were sent to the entire class, and Eurton has
   shown its affirmative defense of consent remains at a minimum for trial. Plaintiff’s Motion should
   be denied in its entirety.
                  C.     Plaintiff’s class lacks standing
                  1.     No standing for faxes
                  As shown above, as Plaintiff cannot establish who in the class received faxes. Therefore
   summary judgment should be denied on the grounds its class lacks standing. See, e.g., Langer v.
   Colorado Pro. Bldg., LLC, No. CV1802267SJOFFM, 2019 WL 4143307, at *3 (C.D. Cal. June
   10, 2019) (“Although Defendants do not bring a separate motion for summary judgment that raises
   the standing issue, they argue in their opposition that Plaintiff lacks Article III standing). Every
   class member must have Article III standing in order to recover individual damages. “Article III
   does not give federal courts the power to order relief to any uninjured plaintiff, class action or not.”
   TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208, 210 L. Ed. 2d 568 (2021). TransUnion also


   1
       See Ex. 16 to Watkins Decl.
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   confirms that “[a] plaintiff must demonstrate standing ‘with the manner and degree of evidence
   required at the successive stages of the litigation.’ ” Id. (quoting Lujan v. Defs. of Wildlife, 504
   U.S. 555, 561 (1992)). TransUnion did not “address the distinct question whether every class
   member must demonstrate standing before a court certifies a class.” 141 S. Ct. at 2208 n.4.
   However, given that Plaintiff’s class is certified, its identification plan must identify class members
   with standing.
                  The alleged Article III injury from TCPA faxes is using paper and toner and time in
   response to the defendant’s fax. See, e.g., Craftwood II, Inc. v. Generac Power Sys., Inc., 920 F.3d
   479 (7th Cir. 2019). Without any showing that the class received faxes, they cannot show any
   Article III standing. Summary judgment should be denied on this ground.
                  2.     No standing for opt-out notice
                  Summary judgment should also be denied because Plaintiff’s class members lack Article
   III standing to assert their opt-out notice claims. See, e.g., St. Louis Heart Ctr., Inc. v. Nomax,
   Inc., 899 F.3d 500, 504-05 (8th Cir. 2018) (concluding that “[a]ny technical violation in the opt-
   out notices thus did not cause actual harm or create a risk of real harm” such that the plaintiff
   “lacked Article III standing”).
                  The Court in TransUnion clarified the statement in Spokeo where the Court said that “the
   risk of real harm” (or as the Court otherwise stated, a “material risk of harm”) can sometimes
   “satisfy the requirement of concreteness.” Spokeo, 578 U. S., at 341–342, 136 S.Ct. 1540 (citing
   Clapper v. Amnesty Int'l USA, 568 U.S. 398, 133 S.Ct. 1138, 185 L.Ed.2d 264 (2013)). The
   Supreme Court in TransUnion held that this statement was confined to suits for injunctive relief,
   such as in Clapper. 141 S. Ct. at 2210.
                  In contrast, with respect to a suit for damages, the Court in TransUnion held that the mere
   risk of future harm, standing alone, could not qualify as a concrete harm. Id. at 2210-2211.
   Instead, plaintiffs seeking damages must demonstrate that the “the risk of future harm
   materialized,” or that the plaintiffs “were independently harmed by their exposure to the risk
   itself.” Id. at 2211.

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                  With respect to claims relating to a defective opt out notice, the Court in Robert W. Mauthe,
   M.D., P.C. v. MCMC LLC, 387 F. Supp. 3d 551, 564 (E.D. Pa. 2019) [hereinafter Mauthe] held
   that the TCPA requires a valid opt-out notice on faxes sent in connection with an EBR because
   Congress “determined it was necessary to provide recipients with the ability to stop future
   unwanted faxes sent pursuant to such relationships.” S. Rep. No. 109-76 at 7. “That requirement
   reflects that a consumer very likely will be less annoyed—and have his privacy less intruded
   upon—by an unsolicited fax if he knows there is ‘a cost-free mechanism’ to ensure he will not
   receive additional faxes in the future.”
                  Eurton asserts that harm described in Mauthe and similar decisions is the very “risk of
   harm” that is now rejected in TransUnion when seeking statutory damages. The harm would only
   materialize if the consumer believed that he could not opt out and acted accordingly. Otherwise,
   there would be a bare informational injury, which does not establish standing under TransUnion.
   An “asserted informational injury that causes no adverse effects cannot satisfy Article III.” 141 S.
   Ct. 2190, at 2214. Given that Plaintiff is seeking monetary damages, its class lacks standing to
   assert claims based on a defective opt-out notice.
                  The Seventh Circuit’s decision in Casillas v. Madison Ave. Assocs., Inc., 926 F.3d 329 (7th
   Cir. 2019) is instructive. In that case, the plaintiff in Casillas contended that the defendant violated
   15 U.S.C. § 1692g(a) by failing to provide consumers with adequate notice about preserving their
   statutory rights to dispute their debt. Id. at 333–34. The plaintiff, however, did not assert any actual
   harm or risk of harm. She “complained only that her notice was missing some information” that
   the statute requires, without claiming that the defendant's mistake put her “in harm's way.” Id. at
   334.
                  In the same manner, unless class members who received these unidentified faxes can
   identify upon the “deficient” opt-out notice, there is no Article III standing. Plaintiff has not
   alleged that the class did not opt out or could not opt out as a result of the lack of opt-out notice.
   Therefore, there was no actual harm or risk of real harm to trigger Article III standing, and therefore
   Eurton’s EBR defense is viable.

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                  G.     Eurton’s EBR defense
                  Because Plaintiff lacks standing to assert its opt-out notice claims, all that remains is
   Plaintiff’s unsolicited advertisement claims, which are therefore subject to Eurton’s EBR defenses
   to the class. Such defense would requiring showing that that there was an EBR and that the fax
   number was voluntarily communicated within the context of such established business
   relationship, from the recipient of the unsolicited advertisement, and the advertisement contains
   an adequate opt-out notice. 47 U.S.C. §§ 227(b)(1)(C). The term EBR is defined as follows :

                  The term established business relationship for purposes of paragraph (a)(4) of this
                  section on the sending of facsimile advertisements means a prior or existing
                  relationship formed by a voluntary two-way communication between a person or
                  entity and a business or residential subscriber with or without an exchange of
                  consideration, on the basis of an inquiry, application, purchase or transaction by
                  the business or residential subscriber regarding products or services offered by
                  such person or entity, which relationship has not been previously terminated by
                  either party

   47 C.F.R. § 64.1200(f)(6).

                  All of the forms whereby Eurton were provided fax numbers were pursuant to inquiry,
   transaction or application and thereby establish an EBR for those numbers. The credit applications
   were provided when the customer would contact Eurton and request to be set up on account for
   future business and supply their company relevant information. (Buchanan Decl. ¶ 34.) The
   customer updates were by definition customers of Eurton who had purchased products. The Data
   Quote sheets were inquiries or requests for quotes on Eurton products. (Buchanan Decl. ¶ 82.)
                  Therefore, there is evidence of at least 409 EBRs out of the 1,498 first list of Class
   Members. See Ex. 16 to Watkins Decl. With respect to the Supplemental List, credit applications
   for 90% of contacts beginning with A, B, or C were able to be located, reflecting 505 numbers of
   out the total Supplemental List of 2,378. See Ex. 19 to Watkins Decl. Review of credit applications
   and updates for letters D-Z was prohibitive given Eurton’s lack of manpower and COVID-19.
   (Buchanan Decl. ¶¶ 51-52).
                  Given that there is EBR defense for a significant number of class members, classwide

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   summary judgment should be denied as to Plaintiff’s unsolicited faxes claim.
   IV.            CONCLUSION
                  Plaintiff’s Motion for classwide summary judgment should be denied in its entirety.


    November 1, 2021                                           /s/ David J. Kaminski
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                                           CERTIFICATE OF SERVICE
                  I hereby certify that, on the 1st day of November 2021, a true and correct copy of the above
   and foregoing has been served by electronic notification by filing with the Clerk of Court using
   the CM/ECF system, which sent notification via e-mail to the following:


                  ppeluso@woodrowpeluso.com
                  tsmith@woodrowpeluso.com
                  woodrow@woodrowpeluso.com


                                                                          /s/ David J. Kaminski
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